







		NO. 12-08-00474-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




STEPHEN R. PORTER,§
	APPEAL FROM THE 124TH

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	GREGG COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for want of jurisdiction.  Appellant pleaded guilty to the
offense of aggravated assault causing bodily injury, and punishment was imposed in open court on
June&nbsp;19, 2008.  In a criminal case when, as here, no motion for new trial is filed, the notice of appeal
must be filed within thirty days after the day sentence is imposed or suspended in open court.  See
Tex. R. App. P. 26.2(a).  Consequently, Appellant's notice of appeal was due on July 21, 2008.  See
id.  However, Appellant filed his notice of appeal on December 10, 2008.  Recognizing that his
notice of appeal was untimely, Appellant also filed a motion for an extension of time to file the
notice of appeal.  An appellate court may extend the time to file a notice of appeal if, within fifteen
days after the deadline for filing the notice of appeal, the party files in the trial court his notice of
appeal and files in the appellate court a motion complying with Texas Rule of Appellate Procedure
10.5(b).  Tex. R. App. P. 26.3.  Because Appellant's notice of appeal and motion for extension of
time were not filed on or before August 5, 2008 (fifteen days after July 21, 2008), this court has no
authority to extend the time for filing his notice of appeal.

	Appellant's notice of appeal is untimely, which leaves us without jurisdiction over the
appeal.   Furthermore, this court has no authority to allow the late filing of a notice of appeal except
as provided by rule 26.3.  See Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998) (per
curiam); Olivo v. State, 918 S.W.2d 519, 523 (Tex. Crim. App. 1996).  Consequently, Appellant's
motion for extension of time to file his notice of appeal is overruled, and this appeal is dismissed for
want of jurisdiction. 

Opinion delivered December 10, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
































(DO NOT PUBLISH)


